
36 So.3d 253 (2010)
Robert Thomas McGREGOR, son of Donald H. McGregor, and Ruth McGregor, individually and on behalf of her deceased husband, Donald H. McGregor
v.
HOSPICE CARE OF LOUISIANA in BATON ROUGE, L.L.C. d/b/a Hospice of Baton Rouge; Hospice Care of Louisiana, Inc.; The Hospice Foundation of Greater Baton Rouge d/b/a Hospice of Baton Rouge; Kathryn Grigsby; Cynthia Logan; Melanie Hyatt; and Katherine Braud
Robert Thomas McGregor, individually, and Ruth McGregor, individually and on behalf of the Succession of Donald H. McGregor
v.
Dr. Gerald Miletello and Dr. Georgia A. Reine.
No. 2010-C-0701.
Supreme Court of Louisiana.
May 28, 2010.
Denied.
VICTORY, J., would grant.
